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                                              UNITED STATES DISTRICT COURT
                                               DISTRICT OF SOUTH CAROLINA
                                                      AIKEN DIVISION

UNITED STATES OF AMERICA                                                                    EXHIBIT AND WITNESS LIST
vs.
DAQUA LAMEEK RITTER,
                                                                                            Case Number: 1:23-CR-24-SAL
a/k/a “Quavo”


 PRESIDING JUDGE                                          PLAINTIFF’S ATTORNEYS:           DEFENDANTS’ ATTORNEYS:

 The Honorable Sherri A. Lydon                            Brook B. Andrews, FAUSA          Joshua Snow Kendrick, Esquire
                                                          Benjamin N. Garner, AUSA         Lindsey Sterling Vann, Esquire
                                                          Elle E. Klein, AUSA
                                                          Andrew Manns, DOJ/AUSA


 TRIAL DATES                                              COURT REPORTER                   COURTROOM DEPUTY
                                                          Karen Andersen
 February 20, 2024 --                                                                      Karen Boston
                                                          Kathleen Richardson
                                                          Carly Horenkamp


 Gov’t No       Def No    Date
                         Offered   Marked      Admitted                              WITNESSES

      U                  2/20/24                          Sheriff James Freeman

      U                  2/20/24                          Gabriel Denizard (SLED)

      U                  2/20/24                          Lieutenant Steven Robinson (Allendale County)

      U                  2/20/24                          Lawrence Wiggins (SLED)

      U                  2/21/24                          Diego Nova

      U                  2/21/24                          S/A Clay Trippi (FBI)

      U                  2/21/24                          Jaida Harvey

      U                  2/21/24                          Shakia Roberts

      U                  2/21/24                          Kateria (Yanna) Albany

      U                  2/21/24                          Sada Smoaks

      U                  2/21/24                          Delasia Green

      U                  2/21/24                          Zamarion Smoaks

      U                  2/22/24                          Kerria Mallory

      U                  2/21/24                          Kordell Jenkins

      U                  2/21/24                          Travis Canady (General Motors)

      U                  2/22/24                          Xavier Pinckney

      U                  2/21/24                          Mercede Allison (FBI)

      U                  2/22/24                          Jamie Priester



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U        2/22/24                    Jerome De Sheers (FBI)

U        2/22/24                    Carrie Mae Frazier

                                    Devontre Priester

U        2/22/24                    Jasmine Frazier

U        2/22/24                    Kelly Rose, Pathologist (SLED)

U        2/22/24                    Artaveis Youmans

U        2/22/24                    James Green, Forensic Scientist (SLED)

U        2/22/24                    April Hightower

U        2/23/24                    S/A Jacyln Yandell (ATF)

U        2/22/24                    Sara Goodman, Forensic Scientist (SLED)

U        2/23/24                    S/A Delise Jeffrey (FBI)




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                                     EXHIBIT AND WITNESS LIST - CONTINUATION

                   US vs DAQUA LAMEEK RITTER, a/k/a “Quavo”                             CRIMINAL NO: 1:23-CR-24-SAL


                      Date
Govt No   Dft No                                                  DESCRIPTION OF EXHIBITS AND WITNESSES
                     Offered     Marked      Admitted


  1                 2/20/24        U            U       Map and Key

  2                 2/20/24        U            U       Photograph of Vehicle (Bates 00068)

  3                 2/20/24        U            U       Photograph of Vehicle (Bates 00065)

  4                 2/20/24        U            U       Photograph of Vehicle (Bates 00067)

  5                 2/20/24        U            U       Photograph of Wooded Area (Bates 00114)

  6                 2/20/24        U            U       Photograph of Wooded Area (Bates 00115)

  7                 2/20/24        U            U       Photograph of Wooded Area (Bates 00117)

  8                 2/20/24        U            U       Photograph of Wooded Area (Bates 00118)

  9                 2/20/24        U            U       Photograph of VIN (Bates 00101)

  10                2/20/24        U            U       Photograph of Vehicle GM Manufacturer Sticker (Bates 00107)

  11                2/20/24        U            U       Photograph of Vehicle (Bates 00082)

  12                2/20/24        U            U       Photograph of Doe in Front Seat (Bates 00102)

  13                2/20/24        U            U       Photograph of Doe in Front Seat (Bates 00137)

  14                2/20/24        U            U       Photograph of Passenger Floorboard (Bates 00139)

  15                2/20/24        U            U       Photograph of Cartridge (Bates 00140)

  16                2/20/24        U            U       Photograph of Cartridge (Bates 00177)

  17                2/20/24        U            U       Photograph of Black Shoe (Bates 00168)

  18                2/20/24        U            U       Photograph of Black Shoe (Bates 00170)

  19                2/20/24        U            U       Photograph of Doe (Bates 00146)

  20                2/20/24        U            U       Photograph of Front Seat (Bates 00216)

  21                2/20/24        U            U       Photograph of Front Seat; Cartridges (Bates 00217)

  22                2/20/24        U            U       Photograph of Front Seat; Cartridge (Bates 00220)

  23                2/20/24        U            U       Photograph of Cartridge From Driver’s Side Floorboard (Bates 00223)

  24                2/20/24        U            U       Photograph of Doe’s Cell Phone (Bates 00235)

  25                2/20/24        U            U       Photograph of Vehicle Driver’s Side Exterior (Bates 00270)

  26                2/20/24        U            U       Photograph of Driver’s Side Door (Bates 00267)

  27                2/20/24        U            U       Photograph of Front Passenger Seat (Bates 00341)

  28                2/20/24        U            U       Item 4 Swab – Exterior Front Passenger Door (PE)




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29       2/20/24      U         U     Item 5 Swab – Front Passenger Exterior Door Handle (PE)

30       2/20/24      U         U     Item 6 Swab – Front Passenger Interior Door Panel (PE)

31       2/20/24      U         U     Item 7 Swab – Front Passenger Door Arm Rest (PE)

32       2/20/24      U         U     Item 8 Swab – Front Passenger Interior Door Handle (PE)

                                      Cartridge Case Headstamped “WIN 25 AUTO” From Front Passenger
33       2/20/24      U         U
                                      Floorboard (Item 1) (PE)
                                      Cartridge Case Headstamped “WIN 25 AUTO” From Driver’s Seat
34       2/20/24      U         U
                                      (Item 2) (PE)
                                      Cartridge Case Headstamped “WIN 25 AUTO” From Driver’s
35       2/20/24      U         U
                                      Floorboard (Item 3) (PE)
                                      DVD – Body Worn Camera - Traffic Stop of Doe on 08/04/2019 (Bates
36       2/20/24      U         U
                                      00428)

37       2/20/24      U         U     Traffic Stop Screenshot

38       2/20/24      U         U     DVD – Interview of Daqua Ritter on 08/04/2019 (Bates 00453)

39       2/20/24      U         U     Written Statement of Daqua Ritter on 08/04/2019 (Bates 00443-00445)

                                      Doe’s Phone SMS Messages Extraction Report – 08-03-2019 – 08-05-
40       2/20/24      U         U
                                      2019 (Bates 06338 – 06350)
                                      Demonstrative – Text Messages from Pinckney’s Phone on 08-04-
40a      2/20/24      U         U
                                      2019
                                      Demonstrative – Text Messages between Doe and her mother (Debra
40b      2/20/24      U         U
                                      Sabb) on 08-04-2019
                                      Demonstrative – Text Messages from Doe’s Phone to Pinckney’s
40c      2/20/24      U         U
                                      Phone on 08-04-2019
                                      Subscriber Information – Xavier Pinckney’s Talkatone Phone Number
41       2/20/24      U         U
                                      (Bates 00626 - 00627)
                                      Xavier Pinckney’s Talkatone Call Detail Record 08-04-2019 (Bates
42       2/20/24      U         U
                                      00630)

43       2/20/24      U         U     Daqua Ritter’s SC DMV 10 Year Driver Record (Bates 00452)

44       2/20/24      U         U     Item 20 – Buccal Swabs From Daqua Ritter (PE)

45       2/21/24      U         U     Doe’s Phone Master Extraction Report (Bates 00643 - 00647)

46       2/21/24      U         U     Doe’s Phone Activity Extraction Report (Bates 00650 – 00653)

47       2/21/24      U         U     Doe’s Phone Call Log Extraction Report (Bates 02494 – 02498)




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                                      Doe’s Phone Searched Items Extraction Report (Bates 06293 –
48       2/21/24      U         U
                                      06294)
                                      Facebook Account Holder Information for Xavier Pinckney (Bates
50       2/21/24      U         U
                                      27277)

49       2/21/24      U         U     Cartridge Swab Item 3.1

51       2/21/24      U         U     Photograph of Xavier Pinckney (Bates 39287)

                                      Facebook Account Holder Information for Daqua Ritter
52       2/21/24      U         U
                                      (immaculate.qua) (Bates 43483)
                                      Facebook Communications (Chats between Daqua Ritter and Xavier
53       2/21/24      U         U
                                      Pinckney on 08-09-2019) (Bates 44829 – 44830)
                                      Demonstrative – Facebook chat between Daqua Ritter and Xavier
53a      2/21/24      U         U
                                      Pinckney on 08-09-2019 (Bates 44829 – 44830)
                                      Facebook Communications (Chats between Daqua Ritter and Xavier
54       2/21/24      U         U
                                      Pinckney on 08-11-2019) (Bates 44833 – 44834)
                                      Demonstrative – Facebook chat between Daqua Ritter and Xavier
54a      2/21/24      U         U
                                      Pinckney on 08-11-2019) (Bates 44833)
                                      Demonstrative – Facebook chat between Daqua Ritter and Xavier
54b      2/21/24      U         U
                                      Pinckney on 08-11-2019) (Bates 44833 – 44834)
                                      Facebook Communications (Chats between Daqua Ritter and Xavier
55       2/21/24      U         U
                                      Pinckney on 08-11-2019) (Bates 44836)
                                      Demonstrative – Facebook chat between Daqua Ritter and Xavier
55a      2/21/24      U         U
                                      Pinckney on 08-11-2019) (Bates 44836)
                                      Facebook Communications (Chats between Daqua Ritter and Xavier
56       2/21/24      U         U
                                      Pinckney on 08-11-2019) (Bates 44837 – 44838)
                                      Demonstrative – Facebook chat between Daqua Ritter and Xavier
56a      2/21/24      U         U
                                      Pinckney on 08-11-2019) (Bates 44837 – 44838)
                                      Facebook Communications (Chats between Daqua Ritter and Xavier
57       2/21/24      U         U
                                      Pinckney on 08-13-2019) (Bates 44840 – 44841)
                                      Demonstrative – Facebook chat between Daqua Ritter and Xavier
57a      2/21/24      U         U
                                      Pinckney on 08-13-2019) (Bates 44840 – 44841)
                                      Facebook Account Holder Information for Pebbles LaDime Doe
58       2/21/24      U         U
                                      (Dime.Divaa22) (Bates 43483)

59       2/21/24      U         U     Photograph of Dime Doe (Bates 52048)

                                      Facebook Communications (Chats between Sada Smoaks and Doe on
61       2/21/24      U         U
                                      07-29-2019) (Bates 53018 – 53020)
                                      Demonstrative – Facebook Chat between Doe and Sada Smoaks on
61a      2/21/24      U         U
                                      07-29-2019 (Bates 53018 – 53020 - Screenshot)
                                      IP Address Subscriber Information 08-04-2019 (Willie Youmans)
62       2/21/24      U         U
                                      (Bates 74728 -74729)

63       2/21/24      U         U     TextNow Call Log (Bates 74846 - 74851)


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63a      2/21/24      U         U     Demonstrative –TextNow Call Log (Bates 74846 - 74851)

64       2/21/24      U         U     TextNow Spreadsheet (Bates 13013 - 13040)

                                      Demonstrative – TextNow Communications Between Doe and Ritter
64a      2/21/24      U         U
                                      07-03-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64b      2/21/24      U         U
                                      07-04-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64c      2/21/24      U         U
                                      07-06-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64d      2/21/24      U         U
                                      07-07-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64e      2/21/24      U         U
                                      07-11-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64f      2/21/24      U         U
                                      07-12-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64g      2/21/24      U         U
                                      07-16-2019 – 07-17-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64h      2/21/24      U         U
                                      07-18-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64i      2/21/24      U         U
                                      07-19-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64j      2/21/24      U         U
                                      07-20-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64k      2/21/24      U         U
                                      07-26-2019 – 07-27-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64l      2/21/24      U         U
                                      07-29-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64m      2/21/24      U         U
                                      07-31-2019
                                      Demonstrative – TextNow Communications Between Doe and Ritter
64n      2/21/24      U         U
                                      08-02-2019

65       2/22/24      U         U     CAST Power Point (Bates 77746 - 77754)

66       2/22/24      U         U     AT&T Mobility (with cell location) (Bates 09923 – 09960)

67       2/22/24      U         U     Map and Key – Aerial View

68       2/22/24      U         U     Photograph of Jewelry (Bates 78039)

69       2/22/24      U         U     Photograph of X-ray (Bates 78022)

70       2/22/24      U         U     Photograph of Gunshot Wounds (Bates 78050)



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71      2/22/24      U         U     Photograph of Gunshot Wound A (Bates 78048)

72      2/22/24      U         U     Photograph of Bullet A (Bates 78057)

73      2/22/24      U         U     Photograph of Gunshot Wound B (Bates 78052)

74      2/22/24      U         U     Photograph of Bullet B (Bates 78058)

75      2/22/24      U         U     Photograph of Gunshot Wound C (Bates 78056)

76      2/22/24      U         U     Photograph of Bullet C (Bates 78064)

77      2/23/24      U         U     Clip 1 (13:12-14:20) Interview of Daqua Ritter on 01/30/2023

78      2/23/24      U         U     Clip 2 (42:13-42:31) Interview of Daqua Ritter on 01/30/2023

79      2/23/24      U         U     Clip 3 (45:22-45:33) Interview of Daqua Ritter on 01/30/2023

80      2/23/24      U         U     Clip 4 (45:54-46:48) Interview of Daqua Ritter on 01/30/2023

81      2/23/24      U         U     Clip 5 (49:02-49:52) Interview of Daqua Ritter on 01/30/2023

82      2/23/24      U         U     Clip 6 (57:07-58:14) Interview of Daqua Ritter on 01/30/2023

83      2/23/24      U         U     Clip 7 (1:07:21-10:07:51) Interview of Daqua Ritter on 01/30/2023

84      2/23/24      U         U     Clip 8 (1:08:41-1:08:52) Interview of Daqua Ritter on 01/30/2023

85      2/23/24      U         U     Clip 9 (1:09:12-1:11:10) Interview of Daqua Ritter on 01/30/2023




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